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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :       No. 1:21-cr-00043-CJN
                       v.                             :
                                                      :       The Hon. Carl J. Nichols, J.
                                                      :
RASHA ABUAL-RAGHEB,                                   :
                                                      :
                       Defendant.                     :

       GOVERNMENT’S UNOPPOSED MOTION TO CONTINUE SENTENCING

       The United States of America, by and through the Acting United States Attorney for the

District of Columbia, hereby moves to continue the sentencing in this matter currently scheduled

for November 9, 2021, to November 23, 2021, at 3 p.m. The assigned attorney for the

government recently had a start date in a trial re-scheduled from October 18 to October 28, 2021.

Given that the trial is estimated to last three weeks, the government is no longer available for a

November 9 sentencing in the matter captioned above. The Court’s deputy courtroom clerk has

advised that the Court is available for a sentencing hearing in this matter on the afternoon of

November 23. Counsel for the defendant has similarly advised that she is available and that the

defense does not oppose this motion.

       A proposed Order is attached.
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                           Respectfully submitted,

                           CHANNING D. PHILLIPS
                           ACTING UNITED STATES ATTORNEY


                     by:   /s/Michael C. Liebman
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